Case
 i   3:17-cv-00072-NKM-JCH Document 204 Filed 01/26/18 Page 1 of 17 Pageid#: 1032
                                                               c> : OFFICE U.:,7ISX COURT
                                                                  'ATc< O= sMLe,VA
                                                                                            FILED
                                                                                      JAN 26 2212
                          IN THE UNITED STATES DISTRICT COURT
                                                                                  JU A       D EY CLERK
                              W ESTERN D ISTR ICT O F V IR G IN IA               BY
                                                                                                L-RK
   ELIZABETZ SINES,etal.,
                   Plaintiffs,



   JASON KESSLER,etal.

                   Defendants.


                M EM OM NDUM O F POINTS AND AUTHO RITIES IN SUPPORT OF
                 FM TERNAL O RDER OF ALT-KM GHTS'M OTION TO DISM ISS


      1.        BA CK G R O U ND

           OnOctober11,1017,plaintiffsfiled a96-pagecomplaintallegingfourcausesof'
                                                                                 action
            '

   ofcivilrigtltsconspiracyandracial,religious,etlmicanimosityagainsttheFraternalOrderofthe

   Alt-Knights(FOAK)and allotherdefendants.(ECF 1,Counts1,2,3& 5).OnDecember21,
   2017,M r.K yle Chapm an c/o FOA K w aspersonally served w ith the initialSum m ons and

   Complaintin Oakland,California.

           On January 5,2018,plaintiffsnm ended theircom plaintand filed alongerllo-page

   pleading alleging tlu'
                        eecausesofaction offederaland state civilrightsconspiracy in violation of

   42U.S.C.j1985(3),j 1986andVirginiaCodesagainstFOAK andallotherdefendants.(ECF
   175,Counts1,2& 3).Plaintiffsdroppedthçracial,religiousoretlm icharassmentclaim against
   FOAK.(ECF 1,Count5).OnJanuary 10,2018,Mr.ChapmanwasservedwiththeFirst
   Amended Com plaintviaU.S.postalcertified m ailto hisresidence in Daly City,Califom ia. Fed.

   R.Civ.P.6(d).
           FOA K hereby m ovesto dism iùs itselffrom the instantaction pursuantto FederalRulesof

   CivilProceduresectionsl2(b)(2)and 12(b)(6).
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     Il.      LEG A L A R G UM ENT

              a. Plaintiffs'C om plaintA gainstFO AK Should Be D ism issed Pursuantto Fed.

                  R.Civ.P.12(b)(2)ForLack OfPersonalJurisdiction
                      i. FO A K ls NotA n U nincorporated A ssociation And D oes NotPerform

                         A ctivities ln V irginia

           Plaintiffshave alleged thatFO AK is an unincorporated association pursuantto V irginia

  Codej8.01-15(FAC !41).Section 8.01-15definesunincorporatedassociationsasthosewhich
  arecommonly known orcalled by aname<Eunderwhich they do business.'' ltalso providesfor

  judgmentstoattach totheStrealandpersonalproperty ...asifitwereincorporated.''Virginia
  Codej8.01-15.
           FOA K is a loosely created grassrootsocialm edia Facebook Group1ancl/orTwitter

  handle2(DeclarationofKyleChapman(stchapmanDecl.'')!3).ltconductsnobusiness,for


  lA Facebook Group is a place forpeople to share theircom m on interests and express their
  opinion.They1etpeoplecometogetheraroundacommoncause,issue,expressobjectives,
  discussissues,postphotos and share related contènt.A ny Facebook usercan m ake a group.
  M embersareableto leavethegroup astheyplease. Facebook Groupscan bedeleted by
  rem oving al1them embers.https://- .facebook.co* help/162866443847527.
         FOAK doesnothave any controloveranyone who wishesto create a Facebook FOA K
  Group page orany iteration thereof. A search forFOA K can easily yield m ultiple Groups w ith
  similarorsamenamesthatareinnoway affiliatedwitheachother.(Chapman Decl.!3).
  2A Twitterhandle isa usernam e selected by anyone using socialm edia platfonn Tw itter. A
  Tw itterprofile isthe page thatdisplays inform ation abouta particular user,person orgroup.
  Following som eone onTwittersimply meanssubscribing to theirtweetsorm essagessothey can
  receive and read them ,butdoes notnecessarily m ean they agree or share the snm e com m on
  belieforopinion. Tw itterfollow ers are the people w ho follow orstlbscribe to anotherperson's
  tweets. hllps://llelp-.
                        lwitter.coc tn.Asplaintiffspointout,Twitterisjustaûcsocialmediasite
  where(usersqshareandpostinformation.''(FAC !277).
           Justlike the Facebook G roups,Tw itterallow susers to create sam e orsim ilar FOA K
  handlesthatareinnowayaffiliatedwith eachother.(ChapmanDecl.!3).
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  profitorotherwise. (Chapman Decl.j4).Itdoesnothaveanofficialmembershipprocessnor
  doesitcollectanyduesorpayments.(Chapman Decl.!5).FOAK neverhad anoffice,agentor
  propertyinVirginia.(ChapmanDecl.!6).Norisitcapableofholdingproperty.(.
                                                                       J#.).FOAK
  neverreached into Virginiato solicitorinitiatebusiness,including creating aVirginiaFacebook

  GrouporTwitterhandle.3 (Chapm an Decl !7).FOAK doesnottransactorperform any
                                           .




  activitiesinVirginia.(ChapmanDecl.!8).ln short,FOAK doesnotmeettheVirginiastatutory
  definition ofanunincorporated association. Standingalone,theseallegationsareinsufficientto

  establish FO AK asan unincorporated association underV irginia law . They are further

  insufficientto establish thatFOA K m ay be sued underit'scom m on nam e underfederallaw .

  Fed.R.Civ.P.l7(b)(3).
                   ii. Plaintiffs C annotProvide Any G roundsO n W hich This CourtC an

                       H ave PersonalJurisdiction O verFO A K

         FederalRuleofCivilProcedure l2(b)(2)requiresdismissalofan actionwhenthecourt
  lackspersonaljurisdictionoverthedefendant.SsW hentheexerciseofpersonaljurisdictionis
  challengedpursuanttoRule 12(b)(2),Fed.R.Civ.P.,thequestion ûisoneforthejudge,withthe
  burdenontheplaintiffultimatelytoprovetheexistenceofagroundforjurisdictionbythe
  preponderanceoftheevidence.'''Rannoch,lnc.v.Rannoch Corp.,52 F.Supp.2d 681,683-84

  (E.D.Va.1999)(quotingCombsv.Bakker,886F.2d 673,676(4thCir.1989)).Virginiahasa
  three-parttesttodetenninewhetherspecificpersonaljurisdiction ismet.CarehrstofM d.,Inc.v.
  CarehrstPregnancy Centers.Inc.,334F.3d390,397(4th Cir.2003)(4:(1)theextenttowhich
  thedefendanthaspurposefully availed itselfoftheprivilegeofcondblcting activitiesin thestate;

  (2)whethertheplaintiffs'claimsariseoutofthoseactivitiesdirectedatthestate;and(3)whether

  3ln fact,M r.chapman hasnevereven been to Virginia orsetfooton thestateofVirginia.
  (ChapmanDecl.! l0).
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  theexerciseofpersonaljurisdictionwouldbeconstitutionally treasonable.'').Asdiscussed
  above,supraSection11.a.i,thefirstandthirdpartofthepersonaljurisdictiontestcannotbemet
  because FOA K isnota com orate or unincom orated association or othérw ise;nordoesittransact

  orperform anyactivitieswithinthestateofVirginia.(ChapmanDecl.!!3-8).
         Plaintiffsmayarguethattheyhavesatisfiedthesecondpal'tofthetestbyallegingthat(i)
  thefactsthatgiverisetotheircom plaintrosefrom eventsoccuning in Charlottesville,Virginia;

  (ii)AgustusSo1InvictusissecondincommandatFOAK andwasattheCharlottesvillerallies;
  and(iii)unidentifiedFOAK members'pm icipatedintheCharlottesvillerallies.(FAC !!40-41,
  63,85,143,l50,159,182,187,329)),
                                 *fozinskiv.Lozinski,185W .Va.558(1991).
                                                                       ,Int'lShoe
  Co.v.Washington,326U.S.310(1945).Thesearemereconclusoryallegationsandneither
  explicitly orim plicitly allege thatanyone,including Invictus,w as acting asan agent,servantor

  on behalfofFOA K . Ifthere w ere any FOA K m em bers atthe rally,they attended them on their

  ownaccordandnotasarepresentativeofFOAK.(ChapmanDecl.!9).Atmost,FOAK maybe
  colmected to somepartiesin thiscase,butwithoutm ore,thisdoesnotshow how FOAK 'S

  lim ited actions or non-actions w ithin V irginia are connected to the claim s in the com plaint.

  Tuckerv.Thomas,853F.Supp.2d576(2012).
         Finally,FO A K m ustbe dism issed from this law suitas otherdefendantsalready sued are

  the appropriate parties in interest.

             b. Plaintiffs'C om plaintAgainstFO A K Should Be D ism issed Pursuantto Fed.

                 R.Civ.P.12(b)(6)ForFailureToStateA CognizableClaim
         Even ifthecomplaintwerenotbarredbylackofpersonaljurisdiction,itwould
  neverthelesswal-rantdismissalunderFederalRuleofCivilProcedure l2(b)(6),A Rule 12(b)(6)
  m otion teststhe legalsufsciency ofa com plaint;itdoes notkçresolve contestssurrounding the



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&    :




         facts,themeritsoftheclaim,ortheapplicability ofdefenses.''SeeButlerv.United States,7Ql

         F.3d749,752(2012)(citingRepublicanPJrl ofNorth Carolinav.Martin,980F.2d943,952
         (4thCir.1992)).Toavoiddismissal,theçscomplaintmustestablish (facialplausibility'by
         pleading (factualcontentthatallowsthe courtto draw thereasonable inferencethatthedefendant

         isliableforthemisconductalleged.''Clatterbuckv.City ofcharlottesvile,708F.3d 549,554
         (4thCir.2013)(quotingAshcroh v.Iqbal,556U.S.662,678(2009).ln essence,theplaintiffs
         mustçcnudgegtheirqclaimsacrossthelinefrom conceivabletoplausible.''BellAtlanticv.
         Twombly,550U.S.544,570(2007).lndecidingwhethertheplaintiffshavemetthisplausibility
         standard,thereviewingcourtmusttakeastrueallwell-pleadedfactsinthecomplaint.Sec:
                                                                                       yof
         StateforDefencev.TrimbleNavigationLtd.,484F.3d700,705(4thCir.2007).Further,itmust
         çtdrawgjallreasonablefactualinferencesfrom thosefactsintheplaintitrsfavor,''Edwardsv.
         CityofGoldsboro,178F.3d23l,244(4thCir.1999),butitneednot''acceptlegalconclusions
         couched asfactsorunwarranted inferenees,unreasonableconclusions,orargum ents.''

         Giarratanov.Johnson,521F.3d298,302(4thCir.2008).
                Even afteramending theircom plaint,plaintiffsstillfailto statea cognizableclaim

         againstFOAK.Instead,plaintiffs'complaintisrepletewithirrelevant,intlammatory,prejudicial
         and imm aterialallegationsthatprovideno supportto any oftheirclaim s.Afterstripping away

         a11thehyperbole,thefactualcontentoftheallegationsagainstFOAK aresparse(FAC !!40-41,
         63,187)anddonotallow theCourttodraw reasonableinferencesthatFOAK isliableforthe
         m isconductaileged. lqbal,566 U .S.at678. lnstead,the com plaintm akes only conclusory legal

         allegationswithoutaverring to any factsthatFOAK directly and/orproxim ately caused tortious

         injurythroughitsaffiliation andnetworkingwithotherdefendants.Thisisacaseçswherethe
         well-pleadedfactsdonotpermitthegcloul'ttoinfermorethanthemerepossibilityof



                                                       5
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  m isconduct,thecomplainthasalleged -butithasnotshown -thatthepleaderisentitled to

  relief.''1d.at679 (internalquotationmarksomitted)(citingFed.R.Civ.P.j8(a)(2)).
         ThuspursuanttoFed.R.Civ.P.12(b)(6),thecomplaintmustbedismissedin itsentirety
  againstFOAK duetoitsfailureistostateaclaim uponwhichreliefcanbegrantedl.q''
                       FO A K C annotB e H eld Responsible For A ny A lleged M em bers

                       A ctions

         MerelyaverringthatFOAK memberswereattheCharlottesvilleevents(FAC !!40-41,
  63,85,143,150,159,182,187,329)orclaimingunidentifiedFOAK memberswerepartofthe
  civilconspiracy thatprom oted the àlleged harassm entand violence atCharlottesville,doesnot

  nudge the plaintiffs'claim s acrossthe line from conceivable to plausible.Twom bly,550 U .S.at

  570. To the extentthatplaintiffs claim thatFOA K is responsible forany alleged conspiracy

  actionsbefore,during orafterthe Charlottesvilleeventsunderthe doctrine ofrespondent

  superior,thisclaim mustfailsinceFOAK cannotbejoinedinthisactionunderthistheory.
  W hile respondentsuperiortypically appliesto an em ployer-em ployee context,itcan operate in

  settingsbeyondformalemployment.Black'
                                      sLJw Dictionary (9thed.2009)(çûgtqhegrespondent
  superiorldoctrineholdgs)anemployerorprincipalliablefortheemployee'soragent'swrongf'
                                                                                    ul
  actscommittedwithin thescopeoftheemploymentoragency'').However,plaintiffsneither
  explicitlyorim plicitly allegethatanyone,including Invidus,wasading asan agentorservant

  ofFOAK. Assuch,plaintiffshavefailed to plead sufficientfactsto state aclaim againstFOAK

  on the basis ofrespondentsuperior.

                    ii. FO A K C annotB eH eld Liable For M isconductO f Third-parties

         In addition,averring to ulm am ed orunidentified defendantsorphantom third-pm'ty co-

  conspiratorsLe.g.,FAC !!J4,45,78,81,98,106,109,120-121,130,135,149-150,153,157-



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   158,165-166,168-169,172,175-176,187-188,201-202,216,217,222,234-235,259)donot
   furtherplaintiffscauseasthey arebaselessand therefore mustbedism issed.A liable-by-

   association legaldoctrine which plaintiffsdesireforthisCourtto createwould resultin people

   notexercising theirfreespeech rightsforfearofbeing sued forwhatathird-party may do.

   Furthermore,plaintiffs'com plaintlacksany specific factualallegationsthatFOAK conspired

   w ith anyone;defendants,co-conspirators,orotherw ise,to engage in any crim inalconduct.

   Although third-partiesare alleged to havediscussed hypotheticalviolence before,during oraher

   therally,such statem entscalm otbeimputed toFOAK toestablish thatFOAK conspired to actin

   an illegalm anner.

          The allegationsm ade againstFOA K are conclusory and notwell-pleaded w ith avennents

   ofact. M em bers ofthe socialm edia FO AK G roup orTw itterhandle thatm ay share the

   m em bers atthe Charlotlesrally'srightto exercise theirFirstand Second Am endm entrights

   and/orprotectand defend thestatute ofGeneralRobertE.Leefrom removalatapermitted

   publicrally(FAC !!I47-48,55,61)doesnotconstituteanactionableconspiracyinandofitself,
   and FOAK thereforeisnotliableforwhatany third-partiesmay haveorm ay nothave done.

             c. Plaintiffs'FederalConspiracyClaims(Counts1& 2)AgainstFOAK Under
                 42U.S.C.jj198543)& 1986FailAndM ustBeDismissed
          42U.S.C.j 1985(3)isnotintended toserveasaksgeneralfederaltol4law,''Grfjlnv.
   Breckenridge,403U.S.88,102(1971).ItthereforeGddoesnotitselfcreateanysubstantiverights
   butratherm erely servesasavehicleforvindicating som eotherwisedefined federalright,Great

   Am.Fed.Sav.(jrfoanAss'nv.Novotny,442U.S.366,376 (1979).
          lnordertostateaclaim foraprivateconspiracyundertheAtequalprotection''clauseofj
   1985(3),theplaintiffmustallegethattttheconspiracywas:(l)motivatedbyaclass-based
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  invidiouslydiscriminatoryanimus;and(2)aimedatinterferingwithrightsthatazeprotected
  againstprivate,asw ellasofficial,encroachm ent.''Bray v.Alexandria Women'
                                                                          sHealth Clinic,

  506U.S.263,267-68(1993),
                         .Tilton v.Richardson,6F.3d683,686(10thCir.1993).
         In addition,a Cçcivilconspiracy isa com bination oftwo orm ore personsby concerted

  action to accomplish an unlawfulpulmoseorto accomplish somepurpose,notin itselfunlawful,

  byunlawfulmeans.''Tuckerv.Thomas,853F.Supp.2d 576(2012)(quotingDunnv.Roclovell,
  225W .Va.43(2009)).Theexistenceoftheconspiracymustbefactuallyallegedto supporta
  claim ofcivilconspiracy.ts-l-heessence ofaconspiracy isan agreem entbetween two orm ore

  personstoaccomplish antmlawfulpurpose.''1d.(quotingPrecisionPiping drInstruments,Inc.
  P:E.L dupontDeNemoursdrCo.,707F.Supp.225,229(S.D.W .Va.1989)).TheFourthCircuit
  expressed the need to supportconclusory statem ents and recitations oflegalterm sofartw ith

  factualallegations.SeeGiarratanov.Johnson,521F.3d298,302(4th Cir.2008)(thecourtneed
  notacceptplaintiffs'legalconclusionsandunwarrantedinferencesorarguments).
         Though plaintiffs'complaintrambleson for110pagesand includes375 numbered

  paragraphs,itcontainsno colorable allegation FOA K tried to,orconspired to,im pairany ofthe

  plaintiffs'civilrights.Plaintiffs'failureto allege how FOAK wasafûrmatively linked to any of

  theallegedconspiracyactionsin Charlottesvilleisalsofataltothestatutoryclaims.j 1985(3)
  requiresthe pleading ofatleastsom e facts thatshow FOA K 'Spm icipation in a conspiracy.That

  lnvictusw as a m em ber ofthe FO AK 's Facebook group4isnotsufficientto show the existence of

  aconspiracy.(FAC !!J40-41).Neitherdoesaverringtotheexistenceofunnamedor
  unidentifiedFOAK memberssufficient.(e.g.,FAC !!40-41,63,85,143,150,159,182,187,
  329);seealsosupra Sectionll.b.i.Conclusory andspeculativeallegationsareinsuffcientto

  4Invictusrem oved him selfasam emberofthe FOAK Facebook group on oraboutNovember,
  2017.(Chapman Decl.j 11).

                                                8
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  stateaclaim underfederallaw.Painter'
                                     sMillGrille,LLC v.Brown,7l6F.3d 342,349(4th Cir.
  2013);Lucasv.Kales364F.Supp.1345(W .D.Va.1973)(courtdismissed42U.S.C.j1985
  claim bypointing outthatplaintiffhadprovided no evidence ofconspiracy,arld no indication

  thatdefendants were attem pting to deprive him ofequalprotection oflaw sorequalprivileges

  and imm unitiesunderlaw,norany evidence ofpurposefulintentto discrim inate,buthad offered

  vaguecomplaintthatdefendantsactedinconcerttodenyhim civilrights).5
         Theplaintiffs,colleetively,failedto statesuffciently specificfactualallegationsagainst

  FOA K. Ratherthe com plaintis peppered with conclusory generalizations --plaintiffsclaim they

  aretswhite,brown,and black;Christian andJewish'
                                                ,youngand old''and çsthey share adeep love

  ofthiscountry,theircity,andgtheir)values''(FAC !2).Whiledefendants,includingFOAK are
  SGneo-Nazi,Klansm en,whitesuprem acist,and whitenationalist''who (tallagreed and coordinated

  withandamongeach othertoplan,organiàe,promote,andcommittheunlkawfulactsthatinjured
                      .



  Plaintiffs and countless others in Charlottesville. They also coordinated w ith num erousnnm ed

  andulmam ed co-conspirators''tçto engagein,prom ote,and inciteracial,religious,and ethnicity-

  basedharassmentandviolence''ontheresidentsofCharlottesville.(FAC !!3,63,312-335).
  How ever,plaintiffs fail,throughotlttheircom plaint,to putany factualm eaton these conclusory

  bones.(Seee.g.,FAC !!45-48,63,68-72,80-81,98,106,109,124-125,149,153,168,173,

  SJUStbecause plaintiffs disagreed w ith the opinionsorbeliefsby those atCharlottesville, thatis
  notevidencethatFOAK conspiredtoviolatetheircivilrights.Startzellv.City ofphiladelphia,
  533F.3d183 (3dCir.2008).  ,AryanvMackey,462 F.Supp.90(N.D.Tex.1978)(mere
  conjecturesinsufficienttodemonstratedeprivationofconstitutionalrightsl;Adamsv.Teamsters
  Local115,214Fed.App'x 167(3rdCir.2007)(plaintiffsconcedeclaimswerenotactionable
  because they could notshow thatthey weremembersdfprotected group ormotivated by
  discriminatoryanimusdirectedtowazdtheirpoliticalaftiliations);M clntoshv.Arkansas
  RepublicanPartnFrankJF/Cf/:ElectionComm.,766F.2d 337(8thCir.l985)(whereonly
  evidence to supportclaim thatexclusion ism otivated by race is activist's own conclusory
  statementandwhereinfactluncheonisattendedbyraciallymixedaudience);Bellv.Milwaukee,
  746F.2d 1205(7thCir.1984)(derogatoryreferencestoracialorethnicbackgroundby
  themselvesdonotrisetolevelofdeprivationofconstitutionalrights).
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       175-176,187,193,209,215-216,233-235).Importantly,plaintiffsneverexplain specifically
       how FOAK personally did anythingto them norhow FOAK 'sconspired''with anybody otherto

       doanythingotherthanholdlawfulpoliticalrallies.(e.g.,FAC !!40-41,63,85,143,l50,159,
       182,187,329).
              Similarly,plaintiffs'42U.S.C.j1986claim mustalsofailsinceplaintiffsfailedtostatea
       51985claim.Plaintiffs'causeofactionunderj1986requiresthatFOAK ltnew ofthej
       1985(3)conspiracyandhadthepowertopreventthecommissionofsame,andneglectsor
       refusestodoso.Sinceplaintiffshavenotestablishedaclaim againstFOAK underj 1985(3),
       theinterrelatedanddependentcauseofactionunderj 1986mustalsobedismissed.Prl?fjîlt).
                                                                                        '.
       UnitedStates,758F.Supp.342,345(E.D.Va.1990).
.             A ccordingly,Counts 1 and 2 ofplaintiffs'com plaintm ustbe dism issed againstFOA K .

                  d. Plaintiffs'StateConspiracyClaim (Count3)AgainstFOAK UnderVirginia
                     Codes FailA nd M ustBe Dism issed

              Plaintiffsstate conspiracy claim sundervariousVirginia Codestatutesfare no betterand

       mustbedismissed becauseVirginia law doesnotallow fora civilcauseofaction based on

       violations ofcrim inalstatutes. Vansant& Gusler,Inc.v. Washington,245 V a.356,429 S.E.2d

       31(1993).FederalCoul'tshaverecognizedthisprohibition.Pacev.M edcoFranklinRe,LLC,
       20l3W L 3233469,at*4 (E.D.KyJune24,2013).Actionsforcommon law civilconspiracyand
       statutory business conspiracy lie only ifa plaintiffsustains dam ages as a resultofan actthatis

       itselfw rongf'ulortortious. D unlap v.Cottm an Transm ission Systems,LLC,754 S.E.2d 313,317

       (Va.2014);tdgljn Virginia,acommon law claim ofcivilconspiracygenerallyrequiresproofthat
       the underlying tortwas com m itted.'' X/pkl/)?.G risham ,273 V a.68,80,639 S.E.2d 182,188

       (2007)('çcivilconspiracyismerelyamethodofestablishingjointliabilityfbrtheunderlying



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  tort.'');CommercialBus.Sys.v.HaifaxCorp.,253Va.292,300,484 S.E.2d892(1997)*
                                                                            ,Gilber
  v.Glock,800S.E.2d 800,820-21(2017)(1$A eommonlaw conspiracyconsistsoftwoormore
  personscom bined to aecom plish,by som e concerted action,som e crim inalorunlaw f'ulpup ose

  orsomelawfulpurposebyacriminalorunlawfulmeans.'').AllofPlaintiffsallegationsderived
  from Title 18oftheVirginia Code mustbedism issed asagainstFOAK,asthey area11desned as

  crimesunderVirginialaw and arethereforenotcivilly actionable.

         Even ifplaintiffswere ableto citetotheVirginiaCodesstatutesfortheircivilconspiracy

  claim (whichtheycarmot),basedontheallegationsplead inthecomplainttheystillcarmotmeet
   any ofthefactualthreshold requirem entto hold FOAK liable.Asdetailed more f'ully below,

   inh-aSectionlI.d.i,theunderlyingpleadedfactsdo notsupportanyviolationsofplaintiffsby
  FOAK pursuanttoVirginiaCodesections8.01-42.1(intimidation,harassmentorviolence
  directedagainstaperson motivatedbyracial,religious,oretlmicanimosityl;18.2-38& 18.2-42
   (mobassaultorbatleryl;l8.2-42.1(mobviolencel;18.2-46.5(conspiresoraidsandabetsin
   commissionofanaction ofterrorisml;l8.2-52(bodilyinjury bymeansofacid,lyeorother
   causticsubstanceorexplosiveorfirel;18.2-408(conspiretoproduceariotl;182.415(disorderly
   conductdueto intoxicationoractofviolencel;18.2-423.0l(intimidationl;assault'
                                                                              ,batteryor
   falseimprisonment.(FAC !351).
                       lndividualPlaintiffsFailT o State A C laim A gainstFO A K

      Individualplaintiff'sallegationsfareno better.

         PlaintiffElizabeth Sines

         Sinesallegesthatshe w itnessed the events atCharlottesville,including where defendant

   JamesAlexFields,Jr.drovehiscarintoacrowd.(FAC !! l5,254-255,294).
    a   Case
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'
                  Sinesm akesno specific allegationswhatsoeveragainstFOAK andthereforefailsto state

           any claim againstFOAK. FurtherSinesneverexplainshow FOAK conspired with otherst:

           perpetrate any her claim s.

              2. PlaintiffSeth W ispelw ey

                  W ispelw ey allegesthathe w asproviding security services ata chlzrch during the

           Charlottesville event. An hourafterservice ended,hedrovesom eclergiesback to theirhotels.

           Outside the hotel,defendantlnvictus walked tow ardshim and stated 'tW hatthe hellare you

           doing''and dem anded thatherevealwhich church hebelongedto. Then W ispelwey walked

           towardsEmancipation Park where hewasconfronted by unidentified defendantsand co-

           conspiratorsand wasknocked into abush. An unidentified co-conspiratorthen stazed athim and

           shoutedSçfuckyou,faggot.''(FAC !! l1,178-182,205-210,290).
                  W ispelw ey m akes no specific allegationsw hatsoeveragainstFO A K and therefore fails to

           stateany claim againstFOAK .FurtherW ispelwey neverexplainshow FOAK conspired with

           othersto perpetrate any his claim s.

              3. PlaintiffM arissa B lair

                  Blairalleges she is m ulti-racialand w hile counter-protesting on Fourth Street,wasalm ost

           hitbythecardrivenbydefendantField andallegedlysustainedinjtlriestoherhematomaanda
           gashonherrightarm.(FAC !! 16,243-244,287).
                  Blairm akesno specificallegationswhatsoeveragainstFOAK and thereforefailsto state

           any claim againstFO A K . FurtherBlgirneverexplainshow FO AK conspired w ith othersto

           perpetrateany herclaim s.

              4. PlaintiffTyler M agill




                                                          12
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          M agillallegesheran through acrowd andlocked arm swith othercounter-protestersat

   the Rohm da.Then he allegesthatunidentified defendantsand co-conspiratorsthrew an

   unidentifed tluid on him . Fourdays follow ing the Charlottesville events,he collapsed athis

   placeofwork and suffered astroke.M agillallegesthem edicalprofessionalsm aintain thestroke

   wasduetotraumatohisneck.(FAC !! 10,166-169,283-285).
          Aside from the extrem e unlikelihood ofM agillbeing able to successfully link hisstroke

   to afouf-day old event,he makesno specific allegationswhatsoeveragainstFOAK andtherefore

   failsto state any claim againstFOA K . FurtherM agillnever explains how FOA K conspired w ith

   othersto perpetrate any ofthe things he claim s of.

      5. PlaintiffAprilM uniz

          M uniz allegesthatshe follow ed the Charlottesville rally participantstow ardsM clntire

   Park to counter-protestand then to Fourth Streetw here she wasalm osthitby the vehicle driven

   bydefendantFieldandasresultsufferedan acutestressreaction.(FAC !!20,234,254-256,
   291-292).
          M uniz m akesno specific allegations whatsoeveragainstFO AK and therefore fails to

   state any claim againstFOA K . Ful-therM uniz neverexplains how FOA K conspired w ith others

   to pep etrate any herclaim s.

      6. PlaintiffH annah Pearce

          Pearce alleges she isJew ish and w entto counter-protestatCharlottesville Em ancipation

   Park w ith herson. W hile there an unidentified co-conspiratorpointed atherand said $tO h good,

   they are m arking them selves forus,so itis easy to find them .'' Then anotherunidentifed co-

   conspiratortllrew an openbottleoffoulliquidather.(FAC !! 14,220-221,295).Pearcef'urther




                                                  13
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   allegesthatdueto herfearsoftheupcom ing Charlottesville events,the synagogueto which she

   belongsdecidedtomoveandhideasacredscroll.(FAC ! l38).
           Pearcem akesno specific allegationswhatsoeveragainstFOAK andthereforefailsto

   stateany claim againstFOAK .FurtherPearceneverexplainshow FOAK conspiredwith others

   to perpetrate any herclaim s.

      7. PlaintiffM arcus M artin

      M artin allegeshe isAfrican-Am erican and wascounter-protesting on Fourth Streetwhen he

   saw defendantField driving down the road.M artin allegesw as struck by the vehicle and

   sustainedinjuries,includingabrokenleg,fracttlredankleandbruises.(FAC !! l7,243-245,
   286).
           M artin makesno specificallegationswhatsoeveragainstFOAK and thereforefailsto

   state any claim againstFO AK . Ful-therM al-tin neverexplains how FOA K conspired w ith others

   to perpetrate any hisclaim s.

      8. PlaintiffN atalie R om ero

      Rom ero alleges she is Colom bian-A m erican and w as counter-protesting atthe Charlottesville

   Rotunda. Then unidentified defendantsand co-conspiratorsthrew an unidentified tluid on her.

   She furtheralleges she w aspushed againsta police carand spiton by unidentified defendants

   and co-conspirators. She ftlrtherallegesthatw hile counter-protesting on Fourth Street,she w as

   struck by the vehicle driven by defendantField. She alleges she suffered a skullfracture as a

   result.(FAC !! 18,165-169,171,211,243,249-251,288).Aftertheevents.Romel'ofurther
   allegesshe received fourharassing phone calls from unidentified K lan m em bers trying to sellher

   aDodgeChallenger.(FAC !!58,274-275).Finally,sheallegessheison alistofantifa
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      m embers,including thoseSçknown to be violent''who had attended theCharlottesvillerally.

       (FAC !!276-277).
             Rom ero m akes no specific allegationsw hatsoever againstFO A K and therefore fails to

      stateany claim againstFOAK .FurtherRom ero neverexplainshow FOAK conspired with

      Others to perpetrate any her claim s.

         9. Plaintiff Chelsea Alvarado

         A lvarado allegesshe w ascounter-protesting on Fourth Streetw hen she struck by the vehicle

      driven by defendantField and fellto the groundand suffered aconcussion and contusionsto her

       legs.(FAC !! 19,243,252-253,289).
             A lvarado m akes no specitic allegationsw hatsoeveragainstFOA K and therefore failsto

      stateanyclaim againstFOAK.FurtlterAlvaradoneverexplainshow FOAK conspiredwith
      others to perpetrate any her claim s.

          10.PlaintiffJohn Doe

             Doe allegesthathe isA frican-A m erican and w hile he counter-protesting atthe Rotunda,

      wasencircled by unidentified defendantsand co-conspirators.Then theunidentified defendants

      and co-conspirators allegedly threw an unidentified tluid on him .H e also allegeshe w asm aced

      duringthistime.(FAC !! 13,165-174,293).
             D oe m akes no speeitk allegationsw hatsoeveragainstFO AK and therefore fails to state

      any claim againstFO AK . FurtherDoeneverexplainshow FOAK conspiredwith othersto

      perpetrate any his claim s.

             Accordingly,Count3 ofplaintiffs'Com plaintm ustbe dism issed againstFOAK .

                 e. In T he A lternative,Plaintiffs'R equestFor C om pensatory & Punitive

                     D am ages Should B e D ism issed
Case
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          In thealternative,ifFOAK isnotdismissed from theinstantaction,then FOAK requests

   thatplaintiffsbebarred from seeking compensatory and punitive damagbs.

          ln V irginia,colnpensatory dam ages are dam agest-allowed as a recom pense forlossor

   injuryactuallyreceivedandincludelossoccurringtoproperty,necessary expenses,insult,pain,
   mentalsuffering,injlzrytothereputation,andthelike.''Bennettv.R&L CarriersSharedServs.,
   LLC,744 F.Supp.2d494 (E.D.Va.2010)(citing Giantofva.,Inc.v.Pigg,152 S.E.2d271,276
   (1967)).Aspleadinthecomplaint,therearenostrongfactualsupportthatFOAK causedthe
   plaintiffsto sufferany oftheiralleged dnm ages.Seealso,supra,Section ll.b.

          Furthennore,the Suprem e Coul'tofV irginia has çtrepeatedly stated thatan aw azd of

   punitive dam agesisnotfavored generally because punitive dam ages are in the nature ofa

   penalty and should be aw arded only in casesinvolving the m ostegregious conduct.''M adison v.

   Acuna,No.6:12-CV-00028,2012W L 6196450,at13(W .D.Va.Dec.12,2012)(citingBowers
   v.Westvaco Corp.,419 S.E.2d 661,668(Va.1992).ln ordertojustifyan awardofpunitive
   dam ages,therefore,a defendant'sactsm ustconstitute (tw illfulorw anton conduct,or such

   recklessnessasevincesaconsciousdisregardforthesafetyofothers.''Va.Codej8.01-52(5),
                                                                                    .
   seealso Woodsv.M endez,574 S.E.2d263,268(Va.2003)((1A claim.forpunitivedamagesat
   common1aw inapersonalinjuryactionmustbesupportedbyfactualallegationssuffcientto
   establishthatthedefendant'sconductwaswillfulorwanton.'')(eitationsomittedl'
                                                                             ,Tholnasp,
   Snow,174S.E.837,839(Va.l934)(tkrecklessindifferencetoconsequencesheconsciouslyand
   intentionallydidsomewrongfulactoromittedsomeltnowndutywhichproducedtheinjurious
   resulf');Alfonsov.Robinson,514 S.E.2d615,618(Va.1999)(çteachcase...mustbeevaluated
   on itsown facts,and adefendant'sentire conductmustbeconsidered in determining whetherhis

   actionsoromissionspresentsuch aquestion forajury'sdçtermination'').Lookingatthefactsas


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   alleged in thecomplainthere,theCourtshould find thatFOAK neitheracted willfully orin a

   wanton negligentm annerordem onstrated aconsciousdisregard forthesafety ofothers,and

   grantFOAK 'Sclaim todism isspunitivedam ages.

      111.   CO N C LUSIO N

         Forthe reasons stated above,the Courtshould dism iss allclaim s againstFO A K . Since

   thedefectswiththoseclaimsareinherentandincurable,dismissalshouldbewithprejudice.The
   Coul'tshouldalsoorderanyanda1lsuchreliefasitdeemsnecessary andjust,including(i)M r.
   Chapman'sattolmeys'feesandcostsrelatedtothisaction'
                                                     ,and (2)sanctionspursuanttoFederal
   RuleofCivilProcedurel1(sanctionsjustitiedforfilingimproperpleadingforimproper
   purpose,suchastoharassdefendantswithfrivolousclaims);InreEdmond,934F.2d 1304,1313
   (4thCir.1991).
   D ated: January 26,2018
                                             ln Pro er
                                             K yle Chapm an
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